                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )       NO. 2:04-00017
                                           )       JUDGE CAMPBELL
TRAVON GARDNER                             )


                                           ORDER


      Pending before the Court is Defendant’s Motion to Extend Time for Filing Supplemental

Brief (Docket No. 211). The Motion is GRANTED.

      The deadline to file any supplemental brief is extended to January 20, 2015.

      IT IS SO ORDERED.



                                                   __________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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